Case 1:01-cv-12257-PBS Document 7619-9 Filed 06/24/11 Page 1 of 3




                 Exhibit 7
                              Case 1:01-cv-12257-PBS Document 7619-9 Filed 06/24/11 Page 2 of 3


                                                                                                              Page 1
              1                                    IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MASSACHUSETTS
              2
              3
                       In Re:                                               )
              4        PHARMACEUTICAL INDUSTRY                             ) CA No. 01-12257-PBS
                       AVERAGE WHOLESALE PRICE                              ) MDL No. 1456
              5        LITIGATION                                          ) Pages 1 - 30
              6
              7
              8                                            CLASS COUNSEL STATUS CONFERENCE
              9                                    BEFORE THE HONORABLE PATTI B. SARIS
                                                             UNITED STATES DISTRICT JUDGE
            10
            11
            12
            13
                                                                         United States District Court
            14                                                          1 Courthouse Way, Courtroom 19
                                                                         Boston, Massachusetts
            15                                                          September 11, 2007, 10:10 a.m.
            16
            17
            18
            19
            20
            21
            22
                                                                   LEE A. MARZILLI
            23                                                OFFICIAL COURT REPORTER
                                                             United States District Court
            24                                              1 Courthouse Way, Room 3205
                                                                  Boston, MA    02210
            25                                                     (617)345-6787



Electronically signed by Lee Marzilli (501-148-248-2705)                                     2c968e92-ae31-43e5-8fc8-89d4add9dd2a
                              Case 1:01-cv-12257-PBS Document 7619-9 Filed 06/24/11 Page 3 of 3

                                                                              Page 18                                                                  Page 20
            1   Mrs. Howe, for instance, in AstraZeneca -- I see Mr. Wise is            1    something else." So I don't know how that's going to play
            2   in the courtroom -- she paid 50 percent out of pocket, and              2    out. I suspect Judge Bassler is going to go with his
            3   the settlement doesn't accomplish her issue. So it's still a            3    instincts and order that it happen here. That's certainly
            4   problem, but we're working together cooperatively. We've had            4    something we encourage.
            5   a call about that to try to resolve that.                               5            MR. BERMAN: Your Honor, this is Steve Berman.
            6           THE COURT: It's just she's not part of the class.               6            THE COURT: I need some thought from the
            7   It doesn't mean that you can't represent her separately on a            7    plaintiffs' team about what makes sense here, and then I need
            8   separate cause of action. She's just not part of this class             8    to know from the defense team. Although you don't have a
            9   because of the common question issue. But putting that                  9    direct role in this, what happens in New Jersey will affect
           10   aside, I need to trust you. Let's get past all the legal --             10   you. The last thing I want to do is to disqualify him if it
           11           MR. HAVILAND: Sure, absolutely.                                 11   means that every class rep pulls out, and yet I'm worried
           12           THE COURT: I need to trust you, and I keep trying               12   here.
           13   to make sure that if there's a consensus among the                      13           MR. BERMAN: Let me mention two things on that. If
           14   plaintiffs' team, well, I'll trust you. But truthfully, at              14   the class reps pull out, which I think he's -- I don't know
           15   this point, I don't trust you. I mean, that sounds like a               15   how he can do that consistent with his obligation to the
           16   very mean thing to say, but, you know, at some point I tell             16   class, we've done an examination of this; and, unfortunately,
           17   people, "You make your bed, you lie in it." You know, I put             17   because we didn't want it to be this way, we think 99 percent
           18   aside the Stearns things -- well, okay you started a new                18   of the class reps that he currently has only bought drugs in
           19   chapter -- and then there were all the problems with the                19   2004 or later. And therefore, under your prior rulings, we
           20   mediation in front of Eric Green, and there was, like, just             20   actually don't have consumer class reps for most of the
           21   this huge human cry about what happened, and I said, "All               21   defendants at this point.
           22   right, well, that's contested." And then I got the                      22           The second thing -- and I apologize I didn't point
           23   affidavits from these class reps saying, "I'm going to pull             23   this out earlier -- on the trustworthy issue, when I talked
           24   out unless it's me," that makes me worried that you were more           24   to Professor Green about this, I think I should disclose to
           25   concerned about you than you were about the class reps. And             25   the Court that he was very upset. I mean, he said he


                                                                              Page 19                                                                  Page 21
            1   then I sealed it, and then I see this, and I feel like you               1   couldn't call me for two days, he was so angry that
            2   weren't --                                                               2   Mr. Haviland would file the internal workings, E-mails back
            3           MR. HAVILAND: I'm concerned about those clients,                 3   and forth of the settlement negotiations with the Court in
            4   your Honor. That's the number one thing.                                 4   open court, because one thing you do with Professor Green is,
            5           THE COURT: The what?                                             5   you sign a confidentiality statement that he thinks is like
            6           MR. HAVILAND: I'm concerned about those clients.                 6   the bible of how you have to conduct settlement
            7   I've always been concerned about those clients. They're the              7   negotiations. So he was very upset and concerned that that
            8   folks represented since 2001 in Lupron and this case. This               8   happened and is trying to figure out, you know, going
            9   case is a case that we cocounseled with the Local 68                     9   forward, if Mr. Haviland is one of the co-lead counsel, you
           10   counsel. We encouraged this coordination for the                        10   know, how could this work.
           11   Keefe Bartels firm so that your Honor would know fully about            11           MR. HAVILAND: Your Honor, we sought leave to put
           12   this, as soon as Judge Bassler got appointed with his                   12   that under seal, and we're still asking you. The request for
           13   experience as a federal judge, that he would speak with you             13   that is still before your Honor.
           14   and that there wouldn't be a problem. We're trying to avoid             14           THE COURT: When you filed it, did you file it with
           15   that.                                                                   15   a motion to seal?
           16           I think Mr. Jackson will agree, we've worked                    16           MR. HAVILAND: We sent it to your Honor first as
           17   cooperatively to make sure that we don't have a problem.                17   your Honor had asked for with a request that it be put under
           18   Nobody wants another Lupron. I certainly don't want another             18   seal, so that if there was --
           19   Lupron, your Honor, on my card. I want to see this thing                19           MR. BERMAN: It was filed on the ECF.
           20   worked out where everyone is brought to the table.                      20           THE COURT: Was that a mistake in court chambers,
           21           One thing we're disagreeing with defendants on is a             21   or was that a mistake of counsel?
           22   mediation. Judge Bassler spoke at that conference a long                22           MR. HAVILAND: Well, we don't know, your Honor. We
           23   time about mediation. We want the mediation to be here as               23   first sent it to you when your Honor asked for the
           24   part of the mediation your Honor has ordered. The defendants            24   declaration, and we asked that it be treated under seal.
           25   didn't agree to that. Their cover letter said, "No, we want             25   The ECF picked it up on the Friday before that hearing. We


                                                                                                                                          6 (Pages 18 to 21)


Electronically signed by Lee Marzilli (501-148-248-2705)                                                                          2c968e92-ae31-43e5-8fc8-89d4add9dd2a
